                                                             U.S. Department of Justice
                                                             Civil Rights Division
                                                             NOTICE OF RIGHT TO SUE WITHIN 90 DAYS

VIA EMAIL                                                    150 M Street, N.E.
                                                             Karen Ferguson , EMP, 4CON, Room 9.514
                                                             Washington, DC 20530

                                                             January 14, 2022

Ms. Amy Woods
c/o Jon C. Goldfarb, Esquire
Law Offices of Wiggins, Childs, et al.
The Kress Building
301 19th Street North
Birmingham, AL 35203

Re: EEOC Charge Against City of Franklin
No. 494202100883

Dear Ms. Woods:

   Because you filed the above charge with the Equal Employment Opportunity Commission, and
more than 180 days have elapsed since the date the Commission assumed jurisdiction over the charge,
and no suit based thereon has been filed by this Department, and because you through your attorney
have specifically requested this Notice, you are hereby notified that you have the right to institute a
civil action under Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. 2000e, et seq.,
against the above-named respondent.
   If you choose to commence a civil action, such suit must be filed in the appropriate Court within
90 days of your receipt of this Notice.
  The investigative file pertaining to your case is located in the EEOC Nashville Area Office,
Nashville, TN.
  This Notice should not be taken to mean that the Department of Justice has made a judgment as to
whether or not your case is meritorious.
                                                         Sincerely,

                                                       Kristen Clarke
                                                  Assistant Attorney General
                                                    Civil Rights Division

                                                 by    /s/ Karen L. Ferguson
                                                     Karen L. Ferguson
                                                Supervisory Civil Rights Analyst
                                                Employment Litigation Section


cc: Nashville Area Office, EEOC
  City of Franklin

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